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 1                                                                                              Judge Lasnik
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 7                              UNITED STATES DISTRICT COURT FOR THE
                                  WESTERN DISTRICT OF WASHINGTON
 8
                                            AT SEATTLE
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10
      UNITED STATES OF AMERICA,                                   NO. CR14-42RSL
11
                                 Plaintiff
                                                                  PROTECTIVE ORDER REGARDING
12
                                                                  PERSONALLY-IDENTIFIABLE
13                                                                INFORMATION
                           v.
14
      STEPHANIE BAUBLITS,
15
                                 Defendant.
16
17
             This matter came before the Court on the government’s unopposed Motion for
18
     Protective Order. The Court finds that the Motion should be granted and therefore orders
19
     as follows:
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             1.       Subject to the exceptions set forth below, counsel of record for defendant
21
     STEPHANIE BAUBLITS shall not provide defendant or any other person with copies of,
22
     or allow the unsupervised review of, any discovery material produced by the government
23
     that contains:
24
             (a)      Personal identifying information of any individual, including without
25
     limitation, any individual’s date of birth, Social Security number, address, telephone
26
     number, email address, driver’s license number, or professional license number
27
     (“Personal Information”) unless it belongs to the defendant or defendant’s family; or
28
     Stipulated Protective Order Regarding Personal Information                       UNITED STATES ATTORNEY
                                                                                     700 STEWART STREET, SUITE 5220
     (United States v. Baublits, CR14-042RSL) - 1                                      SEATTLE, WASHINGTON 98101
                                                                                             (206) 553-7970
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 1           (b)      Financial information of any individual or business, including without
 2 limitation, bank account numbers, credit or debit card numbers, account passwords,
 3 account names and contact information, account history, account balances, account
 4 statements, or taxpayer identification numbers (“Financial Information”) unless it belongs
 5 to the defendant or defendant’s family.
 6           2.       Notwithstanding the foregoing, counsel may provide material containing
 7 Personal Information or Financial Information to defendant if: (a) that information is first
 8 redacted from the document; or (b) the information is provided in electronic format to the
 9 Federal Detention Center at SeaTac, Washington, for review in a controlled environment
10 by defendant, who is in custody there. Specifically, the Federal Detention Center will
11 make the material available to the defendant in the educational department for viewing,
12 or some other suitable location that is determined by the Federal Detention Center. The
13 defendant shall not be permitted to possess the material in her cell.
14              3.    If defendant reviews unredacted material containing Personal Information
15 or Financial Information, he shall not be permitted to make any notes or other record of
16 Personal Information or Financial Information.
17           4.       Defense counsel may provide discovery material to assistants, consultants
18 or other professional persons who are necessary to assist counsel of record in preparation
19 for trial or other proceedings provided that those persons are made aware of, and agree to
20 the restrictions of, this Protective Order.
21
22           DATED: June 10, 2014.
23
24
25                                                                A
                                                                  Robert S. Lasnik
26                                                                United States District Judge
27
28
     Stipulated Protective Order Regarding Personal Information                         UNITED STATES ATTORNEY
                                                                                       700 STEWART STREET, SUITE 5220
     (United States v. Baublits, CR14-042RSL) - 2                                        SEATTLE, WASHINGTON 98101
                                                                                               (206) 553-7970
              Case 2:14-cr-00042-RSL              Document 56     Filed 06/10/14      Page 3 of 3




 1 Presented:
 2
     JENNY A. DURKAN
 3
     United States Attorney
 4
 5 /s/ Thomas Woods
   THOMAS M. WOODS
 6
   Assisted United States Attorney
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